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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                 CASE NO. 0:24-CV-60382-LEIBOWITZ/AUGUSTIN-BIRCH


  JESSICA PIAFSKY,

         Plaintiff,

  v.

  MB HOME IMPROVEMENTS, INC., et al.,

        Defendants.
  ________________________________________/

                ORDER GRANTING IN PART AND DENYING IN PART
           PLAINTIFF’S MOTION TO COMPEL RESPONSES TO DISCOVERY

         This matter comes before the Court on Plaintiff Jessica Piafsky’s Motion to Compel

  Responses to Discovery directed toward Defendants MB Home Improvements, Inc. and Maxim

  Bohadana. DE 65. Defendants filed a Response to the Motion to Compel, and Plaintiff has not

  filed a Reply. DE 75. The Court scheduled a hearing on the Motion to Compel for March 4, 2025,

  at 2:00 p.m. DE 67. However, upon review of the parties’ briefing and the record, the Court

  concludes that a hearing is unnecessary to resolve the Motion to Compel. The Court therefore

  CANCELS the hearing. For the following reasons, the Motion to Compel [DE 65] is GRANTED

  IN PART AND DENIED IN PART.

         Plaintiff moves to compel Defendants to provide full initial disclosures under Federal Rule

  of Civil Procedures 26(a)(1)(A) and to respond to her First Requests for Production, which she

  served on each Defendant on November 26, 2024. DE 65; DE 65-1 and -2 (First Requests for

  Production). Around the time that Plaintiff filed her Motion to Compel, Defendants’ counsel was

  attempting to withdraw from representation. See DE 63; DE 64; DE 68. Defendants’ counsel was

  permitted to withdraw, and Defendants subsequently retained new counsel who responded to the
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  Motion to Compel. See DE 69; DE 72; DE 75. In that Response, counsel states that he is “willing[]

  to work diligently to respond to Plaintiff’s pending discovery requests in a timely manner.” DE 75

  at 2. Counsel produced various documents on the same day that he filed the Response, and he

  states that he will “work diligently to identify and produce additional documents responsive to the

  Plaintiff’s requests.” Id. at 2, 5–91.

         Given Defendants’ counsel’s recent appearance in this case, it is appropriate to give

  Defendants additional time to respond to discovery. At the same time, Defendants’ responses are

  long past due, and discovery in this case must proceed without undue delay. Accordingly, the

  Motion to Compel [DE 65] is GRANTED insofar as Defendants must serve initial disclosures and

  responses to Plaintiff’s First Requests for Production within 14 days of the date of this Order,

  unless the parties reach an alternative, mutual agreement. The parties are reminded of their

  obligation to supplement a disclosure or response, should they learn that a disclosure or response

  was incomplete. Fed. R. Civ. P. 26(e)(1)(A).

         Plaintiff’s request for an award of expenses is DENIED. Given that the parties’ dispute

  over Defendants’ incomplete disclosures and responses arose at a time when Defendants’ prior

  counsel was attempting to withdraw from representation, and given the willingness that

  Defendants’ new counsel has expressed to diligently complete the disclosures and responses, an

  award of expenses would be unjust. See Fed. R. Civ. P. 37(a)(5)(A)(iii) (prohibiting an award of

  reasonable expenses after granting a discovery motion if “other circumstances make an award of

  expenses unjust”). The hearing set for March 4, 2025, at 2:00 p.m. is CANCELED.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Florida, this 27th day of

  February, 2025.

                                                       ___________________________________
                                                       PANAYOTTA AUGUSTIN-BIRCH
                                                       UNITED STATES MAGISTRATE JUDGE
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